                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

  UNITED STATES OF AMERICA                     )
                                               )        Case No. 1:23-cr-51
  v.                                           )
                                               )        Judge Travis R. McDonough
  ANTHONY MARTIN                               )
                                               )        Magistrate Judge Susan K. Lee
                                               )


                                            ORDER


        Before the Court is Defendant Anthony Martin’s motion to continue sentencing (Doc.

 42). Counsel for Defendant states that she is unavailable on September 20, 2024. (Id.)

 Defendant’s counsel advises that the motion is unopposed. (Id.)

        For good cause shown, Defendant’s motion is GRANTED (Doc. 42). Defendant’s

 sentencing hearing is hereby CONTINUED to October 4, 2024, at 9:00 AM.

        SO ORDERED.

                                             /s/ Travis R. McDonough
                                             TRAVIS R. MCDONOUGH
                                             UNITED STATES DISTRICT JUDGE




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